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             EXHIBIT 15
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                            By Email

                             Hon. Vaughn R. Walker (Ret.)
                            c/o Mr. Jay Weil
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                            288 Hamilton Avenue, 3rd Floor
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                            In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master Case No.
                            3 :07-cv-05 944-SC



                            Dear Judge Walker:

                                          Plaintiffs’ seek hereto compel production of certain responsive
                            documents from Thomson SA that are located in France and for Thomson SA to produce
                            a competent 30(b)(6) deposition witness educated on the basis of information residing in
                            France. Thomson SA, a known participant in a worldwide conspiracy to fix the prices of


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                               Plaintiffs as used herein refers to all Direct Action Plaintiffs (except Dell and
                            CompuCom, which have not named Thomson SA as a defendant).
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     CRTs, is withholding documents and testimony on the basis of a rarely enforced French
     "Blocking Statute" designed specifically to frustrate U.S. discovery efforts. 2 Numerous
     courts have rejected Thomson’s position and this one should too.

                     Background. In December 2012, the European Commission fined
     Thomson SA millions of Euros for participating in what the EC referred to as one of the
     most organized global cartels it had ever observed, to fix the price for color picture tubes.
     After months and months of litigation, Sharp successfully brought Thomson SA and its
     U.S. subsidiary, Thomson Consumer, into this case on March 13, 2014. At that time, the
     Court ruled that Sharp had established personal jurisdiction over Thomson SA by
     demonstrating that it specifically participated in anticompetitive conduct aimed at the
     U.S. CRT industry. Thereafter, numerous other plaintiffs also sued Thomson SA and
     Thomson Consumer.

                      As of April 29, 2014 a mere 129 days from the September          5, 2014 fact
     discovery deadline - neither Thomson SA nor its U.S. subsidiary had produced a single
     document in response to a discovery request in this case. 3 Nonetheless, Thomson lobbied
     to be placed on the same case schedule as other defendants, which meant plaintiffs’
     experts had to opine on Thomson’s liability and damages with scarcely any discovery
     from Thomson. As part of this arrangement, Thomson had committed that it would
     produce its documents in short order and that it would specifically seek to cooperate with
     plaintiffs with respect to facilitating discovery from France - an issue that the plaintiffs
     had raised affirmatively. Eager themselves to proceed with a prompt trial - so long as
     they were not getting shortchanged in discovery - plaintiffs stipulated to add Thomson
     SA and Thomson Consumer to the current case schedule on the strength of Thomson’s
     representation that discovery would be prompt and efficient. Dkt. No. 2550. This
     stipulation memorialized Thomson’s representations that it would make "best efforts to
     make documents and witnesses available . . . if legally possible, without resort to Hague
     Convention procedures, as soon as is reasonably possible . . . ." Id. at 4.

                      It did not take long for Thomson to change its tune on its French
     documents. After getting access to plaintiffs’ full complement of expert materials,
     counsel for Thomson took the position that it was barred from producing a single
     document in France due to the French Blocking Statute. (It appears that the basis for this
     position is, in part, a March 2008 letter from the Ministry of French Foreign Affairs,
     which was specifically elicited by Thomson’s counsel in February 2008, in connection
     with discovery requests from this very MDL.) Ex. 1 (July 22 letter from counsel for
     Thomson SA). As a result, counsel for Thomson SA has not even familiarized itself with
     the documents located in France. To wit, as of July 22, it could not make a representation
     to counsel for Sharp regarding how many responsive documents there were in France or
     the extent to which they were duplicative of materials in the United States. Id.

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         Law No. 68-678 of 27 July 1968, amended by Law No. 80-538.
         Thomson had produced some limited transactional data, pursuant to subpoena.
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                      Furthermore, Thomson SA has taken the position that it will only provide
      a 30(b)(6) witness to testify about any information not barred by the French Blocking
      Statute. Id. To the extent that Thomson SA purports that the statute prevents the
      disclosure of any ’information of an economic, commercial or technical nature," the
      testimony of such a witness would be meaningless.

                      Counsel for plaintiffs met and conferred with Thomson SA about their
      refusal to produce documents or information from France and are at impasse. We thus
      request an order compelling Thomson SA to produce a competent 30(b)(6) witness and
      documents regarding four basic categories of information, tailored to plaintiffs’ most
      pressing needs in the litigation. Those are, specifically, documents and testimony that:

                       (1) relate to communications or meetings between Thomson SA and
      competitors; 4

                       (2) relate to the Court’s general or specific personal jurisdiction over
      Thomson SA; 5

                       (3) relate to the disposition of Thomson SA’s CRT business; 6 or

                      (4) were produced to the European Commission in the course of its
      investigation of a global CRT conspiracy. 7

                    Each of these categories of documents is crucial to the plaintiffs’ ability to
      demonstrate Thomson’s role in the CRT conspiracy and the Court’s jurisdiction over
      Thomson SA.

      I.   The Federal Rules Require Thomson SA to Produce Relevant, Responsive
      Documents and a Competent 30(b)(6) Witness

                     The materials plaintiffs seek are properly discoverable under the generous
      standards of Rule 26. Fed, R. Civ. P. 26(b)(1) ("Parties may obtain discovery for any
      nonprivileged matter that is relevant to any party’s claim or defense . . .


          DAPs’ First Set of Requests for Production to Thomson SA ("Requests") Nos. 3-5;
      Notice of Deposition of Thomson SA Pursuant to Fed. R. Civ. P. 30(b)(6) ("Notice")
      Nos. 1, 2, 5, 6, 9.
          Requests Nos. 36-37, 46-60; Notice Nos. 13, 14, 20, 21, 24, 25, 31.
      6
          Requests Nos. 33, 35; Notice Nos. 34, 35.
      / Requests No. 42. While this request also asked for production of documents to
      Thomson SA from the European Commission, plaintiffs do not seek to compel
      production of those documents at this time. This motion seeks only those documents that
      Thomson SA produced to the European Commission. Notice No. 4.
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                       Plaintiffs seek here production of two categories of information relating
      specifically to the substance of their antitrust claims: (1) documents that Thomson
      produced to the European Commission in connection with its investigation of the CRT
      conspiracy; and (2) documents relating to communications and meetings between
      Thomson SA and other members of the conspiracy. Courts regularly hold these types of
      documents to be relevant in antitrust cases like this one. See In re Urethane, 261 F.R.D.
      at 574-75 (compelling production of documents "relating to meetings or communications
      with any of the other defendants" over relevance and overbreadth objections). Other
      defendants have already produced any such documents that they have located, in their
      possession. See, e.g., Samsung SDI’s Second Supplemental Responses to Direct
      Plaintiffs’ First Set of Interrogatories, Nos. 4 and 5, Response No. 5.

                       Additionally, plaintiffs seek information showing the relationship between
      Thomson SA and Thomson Consumer. This information is discoverable under the
      Federal Rules of Civil Procedure because it is relevant to any defense that Thomson SA
      plans to raise regarding the Court’s jurisdiction over Thomson SA. In particular, the
      information sought is relevant to the extent Thomson SA was related to or controlled
      Thomson Consumer and/or to the extent that Thomson SA acted through Thomson
      Consumer in the United States, including whether and how Thomson SA personnel acted
      in the United States. The requested categories of documents are relevant to rebut any
      arguments that Thomson SA did not have sufficient minimum contacts within the United
      States for the court to exercise general or specific personal jurisdiction. 9

                       Finally, plaintiffs seek information regarding the disposition of Thomson
      SA’s business to its successor - including Thomson SA’s retention of an ownership
      interest in that successor. This information bears directly on Thomson SA’s defense that

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        Broad discovery is "particularly appropriate" in antitrust cases because "broad
      discovery may be needed to uncover evidence of invidious design, pattern, or intent."    In
      re Urethane Litig., 261 F.R.D. 570, 573 (D. Kan. 2009) (quoting BS Steel of Kan., Inc.
      v. Tex. Indus., Inc., No. 01-2410, 2003 WL 21939019, at *3 (D. Kan. July 22, 2003)); In
      re Auto, RefInishing Paint Antitrust Litig., No. MDL-1426, 2004 U.S. Dist. Lexis 29160,
      at *8 (E.D. Pa. Oct. 29, 2004) ("Broad discovery is permitted because direct evidence of
      an anticompetitive conspiracy is often difficult to obtain, and the existence of a
      conspiracy frequently can be established only through circumstantial evidence, such as
      business documents and other records").
          In its Answer to Sharp’s First Amended Complaint, Thomson SA states that
      plaintiffs’ claims should be dismissed "because this Court lacks personal jurisdiction over
      Thomson SA." Answer of Thomson SA to Sharp’s First Amended Complaint at 17,
      Sharp Electronics Corporation, et al. v. Technicolor SA, et al., I 3-cv-0 1173 (Dkt. No.
      114). If Thomson SA concedes that this court has personal jurisdiction over it, then the
      requested documents are unnecessary; however, to the extent that Thomson SA intends to
      rely on ajurisdictional defense based on materials in the record, these materials are
      clearly discoverable under Federal Rule of Civil Procedure 26.
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it withdrew from and did not fraudulently conceal the existence of this massive global
conspiracy. See Dkt. 2440 at 19-22 (rejecting Thomson SA’s arguments that it had
withdrawn from the conspiracy and did not fraudulently conceal the conspiracy); In re
Rubber Chemicals Antitrust Litig., 504 F. Supp. 2d 777, 788 n.9 (N.D. Cal. 2007) (stating
that fraudulent concealment is best addressed at the summary judgment stage).

                As with the documents sought by plaintiffs, Fed. R. Civ. P. 30(b)(6)
provides that a deposition notice may name a corporation as a deponent and that "named
organization must designate one or more" individuals to competently testify as to
"information known or reasonably known to the organization." Fed. R. Civ. P. 30(b)(6).
Thomson SA’s representation that its 30(b)(6) will not testify as to any "economic,
commercial, or technical" information in France is a dereliction of its duty to provide an
educated 30(b)(6) witness. See Ex. 1 (July 22 letter from counsel for Thomson SA).

II.       Foreign Law Does Not Override Thomson SA’s Discovery Obligations

                Thomson SA has taken the position that the French Blocking Statute
prevents it from producing responsive documents located in France or permitting
testimony about information originating in France, and that, in order to get any such
documents or testimony, the plaintiffs must seek redress under the Convention on the
Taking of Evidence Abroad in Civil and Commercial Matters ("Hague Convention").
Courts have rejected this argument time and again. See, e.g., In re Air Cargo Shipping
Svcs. Antitrust Litig., 278 F.R.D. 51,55 (E.D.N.Y. 2010) (granting a motion to compel
production of documents despite French Blocking Statute); In re Aircrash Disaster Near
Rose/awn, Ind Oct. 31, 1994, 172 F.R.D. 295, 310 (N.D. III. 1997) (same). This one
should too. Foreign companies that subject themselves to personal jurisdiction in the
United States by targeting United States consumers for price-fixing should not be entitled
to special treatment because they are from a country that has passed laws designed to
interfere with appropriate U.S. litigation.

                As a threshold matter, Thomson bears the burden of demonstrating that
Hague Convention procedures should supplant the Federal Rules of Civil Procedure.        See,
e.g.,Auto. Refinishing Paint Antitrust Litig., 358 F.3d 288, 300, 305 (3d Cir. 2004);
Schindler Elevator Corp. v. Otis Elevator Co., 657 F. Supp. 2d 525, 529 (D.N.J. 2009);
In re Vitamins Antitrust Litig., 120 F. Supp. 2d 45, 51 (D.D.C. 2000) ("most courts have
placed this burden on the party seeking to require first-use of the Convention"); Valois of
Am., Inc. v. Risdon Corp., 183 F.R.D. 344, 346 (D. Conn. 1997); Doster v. Schenk A.G.,
141 F.R.D. 50, 51-52 (M.D.N.C.1991) ("[I]t is more practical, if not logical, to place the
burden of persuasion on the proponent of using the Hague Convention."). It has not -
and cannot - do so here.

               Of course, the mere existence of the Hague Convention procedures does
not "require American courts to engraft a rule of first resort onto the Hague Convention."
SociØtØ Nationale Industrielle AØrospatiale v. United States District Court for the
Southern District of Iowa, 482 U.S. 522, 544 n.29 (1987). Instead, courts facing conflict
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       between the discovery obligations of Rule 26 and foreign law apply the five-factor test
       set forth in AØrospatialeto determine which procedures govern, which examines:

                      (1) The importance to the. . . litigation of the documents or
                      other information requested; (2) the degree of specificity of
                      the request; (3) whether the information originated in the
                      United States; (4) the availability of alternative means of
                      securing the information; and (5) the extent to which
                      noncompliance with the request would undermine
                      important interests of the United States, or compliance with
                      the request would undermine important interests of the state
                      where the information is located.

       AØrospatiale, 482 U.S. at 544 n.28. The third factor is not relevant here, because Sharp is
       only seeking materials that are not already in the United States. All other factors weigh
       heavily in favor of compelling Thomson SA to produce responsive documents and
       testimony under U.S. law and procedure.

                       Prong 1: Plaintiffs have requested only information central to their
       case. Where, as here, "information and testimony sought by plaintiffs are highly relevant
       and important to the claims and defenses in th[e] action . . . this first factor weighs
       heavily in [movant’s] favor." Strauss v. Credit Lyonnais, S.A., 249 F.R.D. 429, 440
       (E.D.N.Y. 2008). As noted above, plaintiffs cannot thoroughly prosecute their antitrust
       claims against Thomson SA without the information that they have requested. First,
       documents reflecting or relating to communications or meetings between Thomson SA
       and other CRT manufacturers (and testimony on the same subject) bear directly on
       Thomson SA’s liability for harm plaintiffs suffered as a result of the conspiracy.
       Plaintiffs have alleged that Thomson SA participated in a global CRT conspiracy by
       meeting and/or communicating with competitors. Although plaintiffs know about many
       such meetings and communications from documents produced by other defendants, they
       cannot be certain that their information is complete, because, for example, many
       documents bore instructions to "destroy after reading." E.g., TSB-CRT-00041746,
       MTPD-04 10018.

                         Second, documents and information relating to Thomson SA’s
       relationship with Thomson Consumer is crucial should Thomson SA again seek to argue
       that the Court lacks personal jurisdiction over it. Without discovery of documents from
       Thomson SA regarding its relationship with Thomson Consumer and the U.S. market,
       plaintiffs’ ability to demonstrate the Court’s jurisdiction over Thomson SA would be
       unfairly restricted.

                      Third, documents and information regarding Thomson’s disposition of its
       CRT business is critical. Thomson SA sold its CRT business in 2005 to an Indian
       company called Videocon; that company - though properly served by Sharp - has
       defaulted and has not produced any discovery. Its U.S. CRT business was sold to
     Case 4:07-cv-05944-JST Document 3214-15 Filed 12/18/14 Page 8 of 10

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     Technologies Displays Americas - a company that has since exited the CRT business
     entirely and whose entire production in this case totaled 56 documents.

                      And fourth, documents and information that Thomson SA produced to the
     European Commission relates to the same CRT actors and conduct alleged in this case.
     See Ex. 2 (Summary of European Commission decision); In re Payment Card
     Interchange, No. 05-MD-1720 (JG)(JO), 2010 WL 3420517 at *5 (E.D.N.Y. Aug. 27,
     2010) (finding documents from a European Commission investigation ’plainly relevant"
     to U.S. antitrust claims); In re Air Cargo, 278 F.R.D. at 52 (finding that documents
     produced during a government investigation were likely to "prove to be important to the
     prosecution of the plaintiffs’ claims").

                     Accordingly, this first factor weighs heavily in favor of production.

                      Prong 2: Plaintiffs request specific information.   We seek only
     documents and testimony related to four specific categories: (1) Thomson SA’s meetings
     with competitors regarding CRTs, (2) facts related to personal jurisdiction over Thomson
     SA, (3) the disposition of Thomson SA’s CRT business, and (4) Thomson SA’s
     production to the European Commission. Courts have held that each of these categories
     is adequately narrow such that production should be compelled. See In re Rubber
     Chemicals Antitrust Litig., 486 F. Supp. 2d 1078, 1080 (N.D. Cal. 2007) (holding that a
     request for documents related to investigations by foreign bodies was sufficiently
     specific); Credit Lyonnais, 249 F.R.D. at 441 (holding that "[i]nformation [necessary] to
     establish liability" was narrowly tailored and specific); Synthes (USA.) v. G.M dos Reis
     Jr. Ind Corn. Dc Equip. Medico, No. 07-CV-309-L, 2008 WL 81111, at *5 (S.D. Cal.
     Jan. 8, 2008) (holding that jurisdictional discovery was adequately narrow and even less
     intrusive than merits discovery). Accordingly, this factor weighs in favor of compelled
     production.

                       Prong 4: Alternative means of acquiring the information are not
     feasible. It is well understood that in antitrust cases such as this, "the proof is largely in
      the hands of the alleged conspirators." Poller v. CBS, 368 U.S. 464, 473 (1962).
      Plaintiffs therefore have no practical means of acquiring the information they require to
      prosecute their claims against Thomson SA except through the procedures set forth in
      Rule 26.

                    With the fast-approaching discovery deadline of September 5, the Hague
     Convention procedures are effectively unavailable to plaintiffs as an alternative means.
     As courts have recognized, "the outcome of a request pursuant to the Convention is by no
     means certain, and making the request will undeniably result in delays of unknown, and
     perhaps considerable, duration." In re Air Cargo, 278 F.R.D. at 53; see also In re
     Aircrash Disaster, 172 F.R.D. at 310 (describing Hague Convention procedures as "an
     Case 4:07-cv-05944-JST Document 3214-15 Filed 12/18/14 Page 9 of 10

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     unnecessary, complicated, time consuming, and expensive means of discovery, thus
     thwarting the interests of our court system."). 10

                     Prong 5: Enforcing U.S. antitrust laws against a known conspirator
     outweighs any legitimate purpose of the Blocking Statute. The Supreme Court has
     observed that enforcement of antitrust laws is of "fundamental importance to American
     democratic capitalism." Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473
     U.S. 614, 634 (1985). Civil antitrust cases brought by private litigants are a "critical tool
     for encouraging compliance with the country’s antitrust laws." In re Air Cargo, 278
     F.R.D. at 54. Plaintiffs’ effective prosecution of their antitrust claims, therefore, reflect
     significant U.S. interests.

                       The Blocking Statute, on the other hand, has been described by courts as a
     means of providing French citizens with "tactical weapons and bargaining chips in
     foreign courts." Bodner v. Banque Paribas, 202 F.R.D. 370, 375 (E.D.N.Y. 2000).
     Accordingly, "[c]ourts that have addressed the issue have held that the Hague Evidence
     Convention is inapplicable to a French defendant resisting document production in an
     American lawsuit." Crystal Cruises, Inc. v. Rolls-Royce PLC, No. 10-24607, 2011 WL
     11555506, at *1 (S.D. Fla. Nov. 8, 2011). And the fact that Thomson SA appears to have
     gratuitously elicited a letter from the French authorities does not suggest that they have
     discharged any burden of showing that French law should supplant U.S. law regarding
     discovery here. The court in Strauss v. Credit Lyonnais, S.A., 249 F.R.D. 429 (E.D.N.Y.
     2008), examined and rejected a similar letter. It commented that, like here, the letter
     from the French authority did ’little more than generally state its interest in sovereignty
     and . . . that French civil and criminal laws prohibit [defendants] from disclosing at least
     some of the information in dispute here." Id. at 448. It thus ordered that the documents
     be produced from France without recourse to the Hague Convention. Id. at 456. The
     same result is appropriate here. Here, the French Blocking Statute serves an even more
     insidious purpose, since the relevant regulators in Europe have already concluded that
     Thomson SA participated in a worldwide conspiracy to fix the prices of CRTs.



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         Conscious of the upcoming discovery deadline and Thomson SA’s position that the
     Hague Convention governs Direct Action Plaintiffs’ Requests for Production of
     Documents, plaintiffs have alternatively moved this Court for an order permitting the
     commencement of Hague Procedures to acquire the evidence necessary to effectively
     prosecute its case against Thomson SA. That request is without prejudice to this
     positions taken here that the Federal Rules of Civil Procedure should apply, and with full
     knowledge that resorting to the Hague Procedures "is by no means certain, and making
     the request will undeniably result in delays of unknown, and perhaps considerable,
     duration." In re Air Cargo, 278 F.R.D. at 53. Out of an abundance of caution, however,
     plaintiffs have made that alternative request.
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      Hon. Vaughn R. Walker                                                                         9


                      Conclusion. Fact discovery is set to close in this case on September 5,
      2014. The time for playing games must end. For the reasons explained above, plaintiffs
      respectfully request that the Court order Thomson SA to produce a competent 30(b)(6)
      witness that will testify as to topics 1,2,4,5,6,9, 13, 14, 20, 21, 24, 25, 31, 34, and 35;
      and also produce all documents in France located based on reasonable search, responsive
      to requests 3-5, 33, 35-37, 42, and 46-60.

                                                 Very truly yours,

                                                 /s/ Craig A. Benson

                                                 Craig A. Benson

                                                 Counseljbr Sharp Electronics Corporation
                                                 and Sharp Electronics Manufacturing
                                                 Company of America, Inc. on behalf of Direct
                                                 Action Plaintiffs
